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(Rev. 1/21)

                         UNITED STATES DISTRICT COURT                                      .S N, HMTEN, Clerk

                                                  for                                ~.         J—_DP’~tY e!fl

                      NORTHERN DISTRICT OF GEORGIA

                             Violation Report and Petition for Summons
                                   for Offender Under Supervision

Offender:           Brett Thomas Carroll                               Docket No:    1:21-CR-00207-SDG
                    Honorable Steven D. Grimberg
Judicial Officer:
                    United States District Court Judge

Original Sentence Date: 12/07/2015
                  Counts 1 and 2: Conspiracy to Distribute and Possession with the Intent to
                  Distribute a Mixture and Substance Containing a Detectable Amount of a
Original Offense: PYP Schedule I Controlled Substance Analogue, in violation of2l U.S.C. 846
                    and 21 U.S.C. 841(b)(1)(C)

Original Sentence: 90 months custody followed by 3 years supervised release. Special conditions:
                   participate in substance abuse testing and treatment, obtain General Education
Date of            Development Degree, and search.
Jurisdiction
Transferred:       May 25, 2021, from the Eastern District of Tennessee
                                                 Date Supervision
Type of Supervision: Supervised Release          Commenced:                    6/27/2020



                                     NONCOMPLIANCE SUMMARY

The offender has violated the conditions of supervision as follows:


   1. Violation of Mandatory Condition-Commission of Another Federal, State, or Local Crime

       On March 22, 2021, Mr. Carroll was arrested for committing the following offenses: Possession
       of Methamphetamine and Possession of Suboxone. Specifically, Mr. Carroll was pulled over for
       failure to maintain proper lane of travel by Sergeant Smith of the Dawson County Sheriffs
       Office. Mr. Carroll appeared to be nervous; therefore, Sergeant Smith requested Mr. Carroll exit his
       vehicle. Mr. Carroll conveyed he was nervous because he was recently released from prison. Mr.
       Carroll consented to a pat search and initially advised there were no illegal weapons or illicit
       substances in his vehicle when asked by Sergeant Smith.
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        Mr. Carroll appeared to become more nervous when Sergeant Smith stated he believed there were
        illicit substances in the vehicle. Mr. Carroll admitted to having “Speed”, a common term for
        methamphetamine, and suboxone in the vehicle.

        Investigator Ward and Investigator Christopher arrived at the scene and conducted a search of the
        vehicle. A clear plastic bag containing a crystal-like substance, consistent with
        methamphetamine, was located in the driver’s side floorboard, under the mat. Additionally, a bag
        with “tabs”, identified by Mr. Carroll as suboxone, was located in the driver’s side floorboard.

        Subsequently, Mr. Carroll was arrested and taken to the Dawson County Detention Center without
        incident.


PREVIOUS VIOLATION(S) REPORTED TO THE COURT:

       None.

PETITIONING THE COURT TO:
       Issue a Summons for Mr. Carroll and order that he be brought back before the Court at Atlanta,
       Georgia, to show cause why Supervised Release heretofore entered should not be revoked.

I declare under penalty of perjury that
the foregoing is true and correct.


                                 5/28/202 1                     ~ 5/28/2021
Krystal J. Batchelor           Date               K. Stan Tinsley     6~ Date
U.S. Probation Officer                            Supervising U.S. Probation Officer
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THE COURT ORDERS:
~ The issuance of a Summons

C No Action

  Other:




     —-


       Honorable Steven D. Grimberg
       United States District Court Judge

     June 1,2021
                     Date
